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                   f2       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHONTE WATKINS
1208 Culhane Street
Chester, PA 19013                                               Civil Action No.:   :lo' ~~h
                                Plaintiff,                      JURY TRIAL DEMANDED

                        V.

VISION ACADEMY CHARTER SCHOOL
41 E. Baltimore Avenue
Lansdowne, PA 19050
                                                                                FILED
                                Defendant.                                       FEB 04 2020
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                                COMPLAINT - CIVIL ACTION

        Plaintiff, Shonte Watkins ("Plaintiff'), by and through her undersigned attorneys, for her

Complaint against Defendant, Vision Academy Charter School ("Defendant") alleges as follows:

                                             INTRODUCTION

        1.      Plaintiff brings this Complaint contending Defendant violated Plaintiff's rights

protected by Title VII of the Civil Rights Act of 1964 ("Title VII"), 42 U.S.C. § 2000e, et seq., as

amended by the Pregnancy Discrimination Act ("PDA"), 42 U.S.C. § 2000e(k), et seq., and the

Pennsylvania Human Relations Act ("PHRA"), 43 P.S. § 951, et seq., by terminating her

employment on the basis of her gender and pregnancy. Plaintiff also alleges Defendant violated

the Family and Medical Leave Act ("FMLA"), 29 U.S.C. § 2601 et seq., by terminating Plaintiff

in retaliation for her requesting leave and interfering with Plaintiff's right to take leave under same.

                                               PARTIES

       2.       Plaintiff, Shonte Watkins, is a citizen of the United States and Pennsylvania, and

currently maintains a residence at 1208 Culhane Street, Chester, PA 19013.


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       3.       Defendant, Vision Academy Charter School is a business entity operating and

existing under the laws of the Commonwealth of Pennsylvania, with a registered business

address at 41 E. Baltimore Avenue, Lansdowne, PA 19050.

        4.      At all times relevant hereto, Defendant acted or failed to act through its agents,

servants, and/or employees thereto existing, each of whom acted at all times relevant hereto in

the course and scope of their employment with and for Defendant.

                                 JURISDICTION AND VENUE

       5.       Paragraphs 1 through 4 are hereby incorporated by reference, as though the same

were fully set forth herein.

       6.       On or about January 30, 2019, Plaintiff filed a Charge of Discrimination with the

United States Equal Employment Opportunity Commission ("EEOC"), which was dually filed

with the Pennsylvania Human Relations Commission ("PHRC"), thereby satisfying the

requirements of 42 U.S.C. § 2000e5(b) and (e). Plaintiffs EEOC Charge was docketed as

EEOC Charge No. 530-2019-02172. Plaintiffs EEOC Charge was filed within one hundred and

eighty (180) days of her unlawful termination.

       7.       By correspondence dated November 8, 2019, Plaintiff received a Notice of Right

to Sue from the EEOC regarding her Charge, advising her that she had ninety (90) days to file

suit against Defendant.

       8.       Plaintiff has therefore exhausted her administrative remedies and has complied

with all conditions precedent to maintaining this action.

       9.       This action is for violations by Defendant of Plaintiffs rights protected by Title

VII of the Civil Rights Act of 1964 ("Title VII"), 42 U.S.C. § 2000e, et seq., as amended by the

Pregnancy Discrimination Act ("PDA"), 42 U.S.C. § 2000e(k), et seq., as well as the Family and



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Medical Leave Act ("FMLA"), 29 U.S.C. § 2601 et seq.

          10.   This Court has original jurisdiction over Plaintiffs Title VII, PDA, and FMLA

claims, pursuant to 28 U.S.C. §§ 1331 and 1343, as these are civil rights actions arising under the

law of the United States.

          11.   This Court has supplemental jurisdiction over Plaintiffs state law claims pursuant

to 28 U.S.C. § 1367, as those claims arise from the same nucleus of operative facts as her federal

claims.

          12.   The venue in this district is proper under 28 U.S.C. § 1391(b), as the parties reside

in this judicial district and the events giving rise to this action occurred in this judicial district.

                                    FACTUAL BACKGROUND

          13.   Paragraphs 1 through 12 are hereby incorporated by reference, as though the same

were fully set forth herein.

          14.   On or about August 13, 2017, Plaintiff began her employment with Defendant as

a Secretary.

          15.   During her employment with Defendant, Plaintiff performed her job satisfactorily,

receiving occasional praise, and no justifiable discipline.

          16.   In and around December 2017, Plaintiff was suffering complications with a

pregnancy. On or about January 1, 2018, Plaintiffs doctor put her on bed rest, and Plaintiff

notified her supervisor, Isik Durmus ("Mr. Durmus"), CEO/Principal of Defendant.

          17.   On or about January 12, 2018, Plaintiff delivered prematurely at 21 weeks, and

the child passed away. Plaintiffs doctor recommended to Mr. Durmus that she stay out of work

until around February 24, 2018 depending on her postpartum healing.

          18.   In or about April 2018, Plaintiff discovered that she was pregnant again.



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       19.       Plaintiff subsequently informed Mr. Durmus that she would require a surgical

procedure on or about July 17, 2018.

       20.       On or about July 23, 2018, Plaintiff returned to work with a note from her doctor

referencing her obstetrical care and excusing her three-day absence related to the procedure.

       21.       On or about August 7, 2018, during a conference call, Defendant's Business

Manager, Ali Ozacalay, stated that Plaintiffs pregnancy was "too expensive" and that she would

be terminated.

       22.       On or about August 8, 2018, Plaintiff provided Defendant with a note from her

doctor again referencing her obstetrical care and estimating her due date at January 25, 2019.

       23.       Plaintiff was subsequently terminated on or about August 13, 2019 for "budgetary

issues" and "performance issues" related to Plaintiffs attendance.

       24.       Defendant' s stated reason for Plaintiffs termination was pretextual and

Defendant actually terminated Plaintiff on the basis of her gender and pregnancy, and in

retaliation for Plaintiffs request for pregnancy-related leave under the FMLA the following year.

       25.       At the time of her unlawful termination, Plaintiff was qualified for her position.

       26.       Upon information and belief, at the time of her unlawful termination, Defendant

had a continuing need for the job duties and responsibilities previously performed by Plaintiff.

       27.       At the time of her unlawful termination, Plaintiff would have been entitled to

leave under the FMLA for the birth of her child.

       28.       Defendant willfully violated the provisions of the FMLA by terminating

Plaintiffs employment after Plaintiff disclosed her need for pregnancy-related leave.

       29.       As a result of Defendant's deliberate, willful, malicious, and unlawful actions,

Plaintiff has suffered damages, including, but not limited to, loss of employment, promotion



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benefits, earnings and earnings potential, loss of potential benefits, and other economic damages.

                                         COUNTI
                       TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                                 42 U.S.C. § 2000e, ET SEO.
                               GENDER DISCRIMINATION

       30.       Paragraphs 1 through 29 are hereby incorporated by reference, as though the same

were fully set forth herein.

       31.       Upon information and belief, Defendant employed over fifteen (15) employees at

all times relevant hereto.

       32.       Plaintiff is a female and, as such, is a member of a protected class.

       33 .      After Plaintiff disclosed her pregnancy to her supervisor, Defendant engaged in

discriminatory behavior toward Plaintiff on the basis of, inter alia, her gender.

        34.      Ultimately, Defendant took tangible employment action against Plaintiff in the

form of termination from employment because of Plaintiff's gender, in violation of Title VII.

       35.       Defendant acted with malice and reckless indifference to Plaintiff's civil rights

and emotional and physical wellbeing.

       36.       Because of Defendant' s deliberate, unlawful, wanton, and malicious actions as set

forth above, Plaintiff suffered damages in the form of, inter alia, loss of past and future wages

and compensation, mental and emotional damages, damage to reputation, personal humiliation,

and loss oflife's enjoyment.

       WHEREFORE, as a result of the unlawful conduct of the Defendant, Plaintiff

respectfully requests that this Court enter judgment in her favor and against Defendant and grant

the maximum relief allowed by law, including, but not limited to:

       A.        Back wages and front pay, in an amount to be determined at trial, but no less than

One Hundred and Fifty Thousand Dollars ($150,000.00);


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          B.       Punitive, compensatory, and/or exemplary damages in an amount to be

determined at trial, but sufficient to punish Defendant for its intentional, negligent, willful,

wanton, and/or malicious conduct;

          C.       Plaintiff's costs, disbursements, and attorney' s fees incurred in prosecuting this

action;

          D.       Pre-judgment interest in an appropriate amount; and

          E.       Such other and further relief as is just and equitable under the circumstances.

                                        COUNT II
                      TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                 AS AMENDED BY THE PREGNANCY DISCRIMINATION ACT
                                42 U.S.C. § 2000e, ET SEO.
                            PREGNANCY DISCRIMINATION

          37.      Paragraphs 1 through 36 are hereby incorporated by reference, as though the same

were fully set forth herein.

          38.      Upon information and belief, Defendant employed over fifteen (15) employees at

all times relevant hereto.

          39.      At the time of her termination, Plaintiff was pregnant and, as such, was a member

of a class protected under Title VII, as amended by the PDA, from unlawful discrimination

because of pregnancy.

          40.      After Plaintiff disclosed her pregnancy to her supervisor, Defendant engaged in

discriminatory behavior toward Plaintiff on the basis of, inter alia, her pregnancy.

          41.      Additionally, Defendant discriminated and retaliated against Plaintiff for

requesting pregnancy-related leave.

          42.      Ultimately, Defendant took tangible employment action against Plaintiff in the

form of termination from employment because of Plaintiffs pregnancy and request for



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pregnancy-related leave, in violation of Title VII, as amended by the PDA.

          43.      Defendant acted with malice and reckless indifference to Plaintiffs civil rights

and emotional and physical wellbeing.

          44.      Because of Defendant' s deliberate, unlawful, wanton, and malicious actions as set

forth above, Plaintiff suffered damages in the form of, inter alia, loss of past and future wages

and compensation, mental and emotional damages, damage to reputation, personal humiliation,

and loss oflife' s enjoyment.

          WHEREFORE, as a result of the unlawful conduct of the Defendant, Plaintiff

respectfully requests that this Court enter judgment in her favor and against Defendant and grant

the maximum relief allowed by law, including, but not limited to:

          A.       Back wages and front pay, in an amount to be determined at trial, but no less than

One Hundred and Fifty Thousand Dollars ($150,000.00);

          B.       Punitive, compensatory, and/or exemplary damages in an amount to be

determined at trial, but sufficient to punish Defendant for its intentional, negligent, willful,

wanton, and/or malicious conduct;

          C.       Plaintiffs costs, disbursements, and attorney' s fees incurred in prosecuting this

action;

          D.       Pre-judgment interest in an appropriate amount; and

          E.       Such other and further relief as is just and equitable under the circumstances.

                                           COUNTIII
                               FAMILY AND MEDICAL LEAVE ACT
                                    29 U.S.C. § 2601, ET SEO.
                               INTERFERENCE AND RETALIATION

          45.      Paragraphs 1 through 44 are hereby incorporated by reference, as though the same

were fully set forth herein.


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       46.      Upon information and belief, Defendant employed at least fifty (50) employees

within the applicable seventy-five (75) mile radius for each working day in each of twenty (20)

or more calendar days in the current or preceding year.

       47.      Plaintiff would have been an eligible employee under the FMLA and thus entitled

to twelve (12) weeks of unpaid leave for the birth of her children at the time of her anticipated

delivery, in or around January 2019.

       48.      Plaintiff provided adequate notice to Defendant of her need for medical leave by

giving notice as soon as she became aware of the need for leave and as soon as was practicable,

pursuant to 29 U.S.C. § 2612(e).

       49.      Defendant willfully violated the FMLA by: (a) terminating Plaintiff in retaliation

for requesting and seeking leave under the FMLA; and (b) interfering with Plaintiffs rights to

protected leave under the FMLA.

       50.      The aforementioned actions of Defendant constitute both interference and

retaliation violations of the FMLA.

       51.      Plaintiff has, because of Defendant's wrongful termination of her employment,

suffered loss of employment, earnings, raises, and other significant economic benefits, along

with emotional pain and suffering, emotional distress and humiliation.

       WHEREFORE, as a result of the unlawful conduct of the Defendant, Plaintiff

respectfully requests that this Court enter judgment in her favor and against Defendant and grant

the maximum relief allowed by law, including, but not limited to:

       A.       Back wages and front pay, in an amount to be determined at trial, but no less than

One Hundred and Fifty Thousand Dollars ($150,000.00);

       B.       Liquidated damages;



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          C.      Plaintiffs costs, disbursements, and attorneys' fees incurred in prosecuting this

action;

          D.      Pre-judgment interest in an appropriate amount; and

          E.      Such other and further relief as is just and equitable under the circumstances.

                                      COUNTIV
                       THE PENNSYLVANIA HUMAN RELATIONS ACT
                                 43 P.S. § 951, ET SEQ.
                                  DISCRIMINATION

          52.     Paragraphs 1 through 51 are hereby incorporated by reference, as though the same

were more fully set forth at length herein.

          53.     At the time of her termination, Plaintiff was female and pregnant and, as such,

was a member of classes protected under the PHRA from unlawful discrimination because of sex

and pregnancy.

          54.     After Plaintiff disclosed her pregnancy to her supervisor, Defendant engaged in

discriminatory behavior toward Plaintiff on the basis of, inter alia, her pregnancy.

          55.     Additionally, Defendant discriminated against Plaintiff for requesting pregnancy-

related leave.

          56.     Ultimately, Defendant took tangible employment action against Plaintiff in the

form of termination from employment because of Plaintiffs pregnancy and request for

pregnancy-related leave, in violation of the PHRA.

          57.     As a result of Defendant' s deliberate, unlawful, and malicious actions as set forth

above, Plaintiff has suffered loss of employment, earnings, raises, other significant economic

benefits, emotional pain and suffering, emotional distress and humiliation.




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           58.      The conduct described above constitutes a violation of the Pennsylvania Human

 Relations Act, 43 P.S. § 955, et seq., and affords Plaintiff the opportunity to seek any and all

 remedies available under said Act.

           WHEREFORE, as a result of the unlawful conduct of the Defendant, Plaintiff

respectfully requests that this Court enter judgment in her favor and against Defendant, and grant

her the maximum relief allowed by law, including, but not limited to:

           A.       Back wages, front pay, and bonuses in an amount to be determined at trial, but not

 less than one hundred and fifty thousand dollars ($150,000.00);

           B.       Punitive, compensatory, and/or exemplary damages in an amount to be

determined at trial, but sufficient to punish Defendant for its intentional, negligent, willful,

 wanton, and/or malicious conduct;

           C.       Plaintiffs costs, disbursements, and attorney's fees incurred in prosecuting this

 action;

           D.       Pre-judgment interest in an appropriate amount; and

           E.       Such other and further relief as is just and equitable under the circumstances;

           F.       Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages as set forth by

 applicable law.




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                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury as to all issues so triable.




                                                                          P,LLC




                                              murphy@phillyemploymentlawyer.com
                                              Attorney for Plaintiff


Date: February 3, 2020




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                           DEMAND TO PRESERVE EVIDENCE

       The Defendant is hereby demanded to preserve all physical and electronic information

pertaining in any way to Plaintiffs employment, to her potential claims and her claims to

damages, to any defenses to same, including, but not limited to electronic data storage,

employment files, files, memos, job descriptions, text messages, e-mails, spreadsheets, images,

cache memory, payroll records, paystubs, time records, timesheets, and any other information

and/or data which may be relevant to any claim or defense in this litigation.




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